          Case 22-90273 Document 403 Filed in TXSB on 11/03/22 Page 1 of 2




                       IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE SOUTHERN DISTRICT OF TEXAS
                                  HOUSTON DIVISION

                                                                )
 In re:                                                         )      Chapter 11
                                                                )
 COMPUTE NORTH HOLDINGS, INC., et al.,1                         )      Case No. 22-90273 (MI)
                                                                )
                                                                )      (Jointly Administered)
                                    Debtors.                    )
                                                                )

  SUNBELT SOLOMON SERVICES, LLC’s UNOPPOSED MOTION TO WITHDRAW
                      DOCKET ENTRY NO. 400

          1.     Sunbelt Solomon Services, LLC (“Solomon”) files this Unopposed Motion (the

“Motion”) to Withdraw Docket Entry No. 400 from the Court’s Docket for the above-captioned

case. Docket Entry No. 400 inadvertently included nonpublic information made available to only

to a select subset of Unsecured Creditors’ Committee members. Solomon’s counsel has been in

communication with Debtors’ counsel concerning this inadvertent filing. Solomon promptly

notified the Court’s Case Manager, who has restricted access to the pleading pending the outcome

of this Motion. Solomon respectfully requests the Case Manager continue to seal Docket Entry

No. 400 pending the Court’s entry of an Order granting this Motion for Withdrawal. Solomon will

file a corrected Objection that does not include any confidential information.

          2.     Thus, Solomon respectfully requests the Court grant its Motion and withdraw

Docket Entry No. 400 from the Court’s Docket in the aforementioned case, and enter an Order



1 The Debtors in these Chapter 11 cases, along with the last four digits of the Debtors’ federal tax identification

numbers, include: Compute North Holdings, Inc. (4534); Compute North LLC (7185); CN Corpus Christi LLC (5551);
CN Atoka LLC (4384); CN Big Spring LLC (4397) CN Colorado Bend LLC (4610); CN Developments LLC (2570);
CN Equipment LLC (6885); CN King Mountain LLC (7190) CN Minden LLC (3722); CN Mining LLC (5223); CN
Pledgor LLC (9871); Compute North Member LLC (8639) Compute North NC08 LLC (8069); Compute North NY09
LLC (5453); Compute North SD, LLC (1501); Compute North Texas LLC (1883); Compute North TX06 LLC (5921);
and Compute North TX10 LLC (4238). The Debtors’ service address for the purposes of these Chapter 11 cases is
7575 Corporate Way, Eden Prairie, Minnesota 55344.


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        Case 22-90273 Document 403 Filed in TXSB on 11/03/22 Page 2 of 2




confirming this withdrawal.

DATED:         November 3, 2022              MAYER BROWN LLP

               Houston, Texas
                                             /s/ Charles S. Kelley
                                             Charles S. Kelley
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                                             Brandon F. Renken
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                                             Attorneys for Sunbelt Solomon Services, LLC




                              CERTIFICATE OF CONFERENCE

On November 3, 2022, Counsel for Solomon has conferred with Counsel for Debtors and Counsel
for the Unsecured Creditors’ Committee and confirmed they are not opposed to the relief sought
in this Motion.


                                             /s/ Charles S. Kelley
                                             Charles S. Kelley


                                CERTIFICATE OF SERVICE

The undersigned hereby certifies that a true and correct copy of the foregoing instrument was duly
served by electronic transmission to all registered ECF users appearing in this case on November
3, 2022.


                                             /s/ Charles S. Kelley
                                             Charles S. Kelley




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